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10   PHILLIP WALKER
11
12
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
13
14   Phillip Walker,                               Case No.:
15
              Plaintiff,
16
     v.                                            COMPLAINT FOR VIOLATIONS
17                                                 OF: AMERICANS WITH
     Burger King Corporation, a Florida            DISABILITIES ACT OF 1990, 42
18   Corporation; and Does 1-10,                   U.S.C. § 12181 et seq.; UNRUH
                                                   CIVIL RIGHTS ACT, CALIFORNIA
19                                                 CIVIL CODE § 51 et seq.
               Defendants.
20
21
22                                                 DEMAND FOR JURY TRIAL

23
24
25        Most Americans, especially Seniors, become disabled at some point in life…
26
             Plaintiff Phillip Walker (hereinafter referred to as “Plaintiff,”) complains of
27
28   Burger King Corporation, a Florida Corporation; and Does 1-10 (each, individually


                                           COMPLAINT
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 1   a “Defendant,” and collectively “Defendants”), and alleges as follows:
 2
                                I.     PARTIES
 3
 4         1.      Phillip Walker is a senior citizen who has trouble walking. Advanced

 5   arthritis in his right hip has impaired his walking and standing ability. He uses a
 6   seat cane. Advanced arthritis in his right hip has impaired his walking and
 7   standing ability. He also has difficulty moving his upper torso and lower body in
 8   concert. Plaintiff is qualified as being disabled pursuant to 42 USC Section
 9   12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq. and 52,
10
     et seq., and other statutory laws which protect the rights of “disabled persons”.
11
     Plaintiff is a California resident with physical disabilities. Plaintiff has been issued
12
     a blue permanent disability Disabled Person Parking Placard by the State of
13
     California.
14
           2.      Defendant Burger King Corporation, a Florida Corporationowned the
15
16   property (“Property”) located at 4918 Sunset Blvd, Los Angeles, CA 90027, at all
17   relevant times.
18
           3.      There is a business establishment on the Property known as “Burger
19
20   King” hereinafter “business”).
21         4.      DOES 1 through 10 were at all relevant times lessors, lessees, property
22
     owners, subsidiaries, parent companies, employers, employees, agents, corporate
23
24   officers, managers, principles and/or representatives of Defendants. Plaintiff is
25
     unaware of the true names and capacities of Defendants sued herein, as DOES 1
26
     through 10, inclusive, and therefore, sues those Defendants by fictitious names.
27
28   Plaintiff requests that the Court grant leave to amend this complaint to allege the
                                           2
                                       COMPLAINT
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 1   true names and capacities when determined by whatever source.
 2
           5.     Plaintiff alleges that Defendants at all times have been and are relevant
 3
 4   to this cause of action, the owners, franchisees, lessees, general partners, limited

 5   partners, agents, employees, employers, represent partners, subsidiaries, partner
 6
     companies, and/or joint ventures of the remaining Defendants and were acting
 7
 8   within the course and scope of that relationship. Plaintiff is further informed and
 9   believes and alleges that each of the Defendants gave consent to, ratified, and/or
10
     authorized the acts alleged of each of the remaining defendants.
11
12         6.     Plaintiff visited the public accommodations owned and operated by
13   Defendants with the intent to purchase and/or use the goods, services, facilities,
14
     privileges, advantages, or accommodations operated and/or owned by Defendants.
15
16                             II.    JURISDICTION & VENUE
17         7.     This Court has subject matter jurisdiction over this action pursuant to
18
     28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19
20   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
21
           8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
22
     action, arising from the same nucleus of operative facts and arising out of the same
23
24   transactions, is also brought under California’s Unruh Civil Rights Act, which act
25
     expressly incorporates the ADA.
26
           9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
27
28   founded on the fact that the real property which is the subject of this action is
                                           3
                                       COMPLAINT
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 1   located in this district and that Plaintiff’s cause of action arose in this district.
 2
                                 III.   FACTS
 3
 4          10.    The Property owned by Defendants is a facility which is open to the

 5   public and is a business establishment.
 6
            11.    Plaintiff alleges that the Property has been newly constructed and/or
 7
 8   underwent remodeling, repairs, or alterations since 1992, and that Defendants have
 9   failed to comply with California access standards which applied at the time of each
10
     new construction and/or alteration or failed to maintain accessible features in
11
12   operable working condition.
13          12.    Plaintiff visited the Property during the relevant statutory period on
14
     three (3) separate occasions, in April 2019, October 2020 and September 2020 to
15
16   patronize the business.
17          13.    Defendants did not offer persons with disabilities with equivalent
18
     facilities, privileges and advantages offered by Defendants to other patrons.
19
20          14.    Plaintiff encountered barriers (both physical and intangible) that
21
     interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
22
     services, privileges, and accommodations offered at the Property.
23
24          15.    Parking for patrons visiting the Property are among the facilities,
25
     privileges, and advantages offered by Defendants to patrons of the Property.
26
            16.    However, there is no accessible parking for disabled patrons. Not one
27
28   single space. The parking space designated for disabled persons does not comply
                                            4
                                        COMPLAINT
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 1   with the Americans with Disabilities Act (“ADA”).
 2
           17.   The parking area does not comply with the latest California Building
 3
 4   Codes (“2010 CBC”).

 5         18.   Parking is one of the facilities, privileges, and advantages offered by
 6
     Defendants to patrons of the Property.
 7
 8         19.   When Plaintiff visited the Property, Plaintiff experienced access
 9         barriers related to parking, signage, restrooms, and paths of travel.
10
           Plaintiff encountered the following barriers at Defendant’s Property:
11
12
13         Burger King and the Property it sits on does not have accessible
14
           designated disabled parking spaces, adjacent loading/unloading access
15
16         aisles, paths of travel, and an accessible restroom. There seems to be an
17         attempt at making this business and Property ADA complaint, however
18
           it is far from successful. There are major signage issues. The wrong ADA
19
20         sign is posted at one of the parking lot’s entrance, and one of the
21
           designated disabled parking space is missing a sign. There is also a
22
           designated disabled parking space far from the entrance, making it
23
24         difficult for Plaintiff and other patrons to safely access the business. The
25
           ramp landings are on a slope, and there are cracks and uneven surfaces
26
           in the paths of travel.
27
28
                                          5
                                      COMPLAINT
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 1         VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
 2
           ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
 3
 4         of travel.) An accessible route of travel is not provided to all entrances and

 5         portions of the building, entrances and/or between the building and a public
 6
           way.
 7
 8
 9         VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
10
           There is no accessible path of travel into the building entrances. There is no
11
12         safe way for Plaintiff to travel from the parking area to the entrance of the
13         Property.
14
15
16         VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
17         (Directional signage.) There is no directional signage showing an accessible
18
           path of travel.
19
20
21         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
22
           sign.) The tow away sign(s) (white sign stating that “UNAUTHORIZED
23
24         VEHICLES PARKED IN DESIGNATED ACCESSIBLE SPACES …
25
           WILL BE TOWED AWAY”) must be posted in a conspicuous place at each
26
           entrance to an off-street parking lot (facility), or immediately adjacent to and
27
28         visible from each designated parking stall (space). The requisite sign(s) are
                                          6
                                      COMPLAINT
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 1         not posted.
 2
 3
 4         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking

 5         sign – towed vehicle information.) The tow away sign (white sign stating
 6
           that “UNAUTHORIZED VEHICLES PARKED IN DESIGNATED
 7
 8         ACCESSIBLE SPACES … WILL BE TOWED AWAY”) does not state the
 9         required information regarding the tow company and telephone number.
10
11
12         VIOLATION of 2010 ADAS 403.3. (Path of travel- cross slope.) The cross
13         slope of the accessible path of travel is greater than two (2) percent.
14
15
16         VIOLATION of 2010 CBC § 1129B.1; 1991 ADAS § 4.6.2; 2010 ADAS §
17         208.3.1. (Minimize travel distance.) The parking space reserved for disabled
18
           persons is not located to minimize the travel distance to the entrance. The
19
20         parking spaces closest to the entrance of the business are not designated
21         accessible spaces. The space reserved for disabled persons are located
22
           farther.
23
24
25
           VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
26
           502.2. (Faded paint – accessible space lines.) The paint used for the
27
28         designated accessible parking space is so worn and aged that it cannot be
                                          7
                                      COMPLAINT
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 1         seen. This makes it unclear where the actual parking space is. The required
 2
           width dimensions are not painted as required. This makes it difficult for
 3
 4         Plaintiff to park in the designated space.

 5
 6
           VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
 7
 8         space). The parking space designated for disabled persons measures less than
 9         nine (9) feet wide. This makes it difficult for Plaintiff to park in the
10
           designated space.
11
12
13         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
14
           space.) The designated disabled parking space measures less than eighteen
15
16         (18) feet long, which makes it difficult for Plaintiff to park in the designated
17         space.
18
19
20         VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
21         changes in level.) The path of travel from the space reserved for disabled
22
           patrons has an uneven ground surface with changes in level exceeding one-
23
24         half inch.
25
26
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
27
28         § 502.4. (Slope of parking space.) The parking space reserved for disabled
                                           8
                                       COMPLAINT
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 1         patrons has surface slopes in it that are greater than two (2) percent.
 2
 3
 4         VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS

 5         § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
 6
           access aisle for the space reserved for disabled persons has surface slopes in
 7
 8         it that are greater than two (2) percent.
 9
10
           VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
11
12         2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
13         aisle to the designated disabled parking space is less than eighteen (18) feet
14
           long. This makes it difficult for Plaintiff to use the adjacent space to safely
15
16         disembark from the car.
17
18
19         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
20
           2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
21
22         loading/unloading access aisle to the designated disabled parking space is
23
           less than five (5) feet wide. This makes it difficult for Plaintiff to use the
24
25         adjacent space to safely disembark from the car.

26
27
28
                                          9
                                      COMPLAINT
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  1         VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
  2
            § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
  3
  4         access aisle for the accessible parking space is missing entirely. This makes it

  5         difficult for Plaintiff to use the adjacent space to safely disembark from the
  6
            car.
  7
  8
  9         VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
 10
            the designated accessible parking spaces is faded and cannot be seen. There is
 11
 12         no compliant surface signage at the designated disabled parking space. The
 13         International Access Symbol is so faded and worn that it cannot be read. The
 14
            street surface (pavement) signage is unreadable because the paint has faded.
 15
 16
 17         VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
 18
            surface sign.) The words “NO PARKING” is fading from the adjacent
 19
 20         loading/unloading access aisles. As a result, non-disabled patrons park in the
 21         loading/unloading access aisles, blocking Plaintiff from being able to use the
 22
            access aisles. Cars and trucks park or block the access aisles because the
 23
 24         paint is faded and difficult to read.
 25
 26
            VIOLATION 2010 CBC § 1129B.4; 1991 ADAS § 4.6.4; 2010 ADAS §
 27
 28         502.6. (Sign missing – accessible parking space.) The sign identifying the
                                           10
                                        COMPLAINT
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  1         designated disabled accessible parking space is missing entirely.
  2
  3
  4         VIOLATION 2010 CBC § 1129B.4. (Sign missing – $250 fine.) The sign

  5         warning of the minimum $250 fine for unauthorized parking in the
  6
            designated disabled accessible parking space is missing entirely.
  7
  8
  9         VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
 10
            loading/unloading access aisle must adjoin an accessible route to an
 11
 12         accessible entrance. It does not.
 13
 14
            VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Changes in
 15
 16         level of ground surface.) Within the parking spaces reserved for disabled
 17         patrons, has uneven ground. There are cracked parts. This makes travelling in
 18
            this area difficult.
 19
 20
 21         VIOLATION of 2010 CBC §§ 1120B.2, 1133B.7.4; 2010 ADAS §§ 302.1,
 22
            303.3. (Path from parking – uneven surface.) The path of travel from the
 23
 24         designated disabled parking space to the entrance has damaged ground that is
 25
            uneven. There are cracks and uneven surfaces on the surface of the ground
 26
            within the designated path of travel leading into the entrance. This makes
 27
 28         traveling in this area difficult. The path of travel from the designated
                                          11
                                       COMPLAINT
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  1         disabled parking space to the entrance runs into cracks and changes in level
  2
            greater than one-half inch, but no ramps are provided. These steep changes
  3
  4         in level create uneven surfaces.

  5
  6
            VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
  7
  8         4.6.3. (Marked path of travel.) There is no marked path of travel from the
  9         disabled parking space to the entrance. There is no safe way for Plaintiff to
 10
            park there and then travel to the entrance of the Property. Plaintiff is forced
 11
 12         to travel a dangerous route, behind parked cars and in the vehicle drive path
 13         to move from the space to the entrance.
 14
 15
 16         VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS § 4.8.1. (Ramps.)
 17         The accessible route of travel has a slope greater than 1:20 (5%) but is not a
 18
            compliant ramp.
 19
 20
 21         VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The
 22
            ramps do not have a minimum clear width of forty-eight (48) inches.
 23
 24
 25
            VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
 26
            possible slope of ramp.) The least possible slope is not used for the ramp
 27
 28         leading into the business.
                                            12
                                         COMPLAINT
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  1         VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
  2
            cross slope of ramp.) The cross slope of the ramp was greater than 2%.
  3
  4
  5         VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
  6
            landings.) Level ramp landings must be provided at the top and bottom of
  7
  8         each ramp. They are not provided.
  9
 10
            VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
 11
 12         ramp landings.) The landing of ramps must be at least as wide as the ramp
 13         run leading to it, but they are not.
 14
 15
 16         VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
 17         4.8.4(3). (Minimum landing width and length for top ramp landings.) The
 18
            ramp’s top landing is not sixty inches (60”) wide and long as required.
 19
 20
 21         VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
 22
            bottom ramp landings.) The ramp’s bottom landing is not seventy-two
 23
 24         inches (72”) in length as required.
 25
 26
            VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
 27
 28         (Minimum landing size for change of direction in ramp.) The change of
                                           13
                                        COMPLAINT
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  1         direction in the ramp does not have a minimum landing size of 60” x 60”.
  2
  3
  4         VIOLATION of 2010 CBC § 1115B.8.4; 1991 ADAS § 4.16.6; 2010

  5         ADAS § 604.7. (Toilet paper dispenser.) The toilet tissue dispenser is
  6
            mounted more than twelve (12) inches from the front edge of the toilet seat,
  7
  8         making it hard for Plaintiff to use the toilet.
  9
 10
            VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
 11
 12         The sanitary facilities are missing door signage indicating an accessible
 13         facility.
 14
 15
 16         VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
 17         The sanitary facilities are missing door signage indicating an accessible
 18
            facility.
 19
 20         Plaintiff personally encountered the foregoing barriers.
 21         20.    These inaccessible conditions denied Plaintiff full and equal access
 22
      and caused difficulty, humiliation, and/or frustration.
 23
 24         21.    The barriers existed during each of Plaintiff’s visits in 2019 and 2020.
 25
            22.    Plaintiff alleges that Defendants knew that the foregoing architectural
 26
      barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
 27
 28   that the architectural barriers prevented access, and that the noncompliance with the
                                           14
                                        COMPLAINT
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  1   ADA Accessibility Guidelines and Title 24 of the California Building Code was
  2
      intentional.
  3
  4         23.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is

  5   reasonably deterred from returning to Defendants’ public accommodation facilities
  6
      because of the knowledge of barriers to equal access, relating to Plaintiff’s
  7
  8   disabilities, that continue to exist at the Property.
  9         24.      Defendants have failed to maintain in working and useable conditions
 10
      those features necessary to provide ready access to persons with disabilities.
 11
 12         25.      Defendants have the financial resources to remove these barriers
 13   without much expense or difficulty in order to make their Property more accessible
 14
      to their mobility impaired customers. The removal of these barriers is readily
 15
 16   achievable. The United States Department of Justice has determined that removal of
 17   these types of barriers is readily achievable to remove.
 18
            26.      Defendants refuse to remove these barriers.
 19
 20         27.      On information and belief, Plaintiff alleges that Defendants’ failure to
 21
      remove these barriers was intentional, because the barriers are logical and obvious.
 22
      During all relevant times, Defendants had authority, control, and dominion over
 23
 24   these conditions; thus, the absence of accessible facilities was not a mishap, but
 25
      rather an intentional act.
 26
            28.      These barriers to access are described herein without prejudice to
 27
 28   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
                                             15
                                          COMPLAINT
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  1   access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
  2
      (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
  3
  4   have all barriers that relate to his or her disability removed, regardless of whether

  5   he or she personally encountered them).
  6
         IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  7
  8       WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
  9                                  (Against All Defendants)
 10
            29.    Plaintiff alleges and incorporates by reference each and every
 11
 12   allegation contained in all prior paragraphs of this complaint.
 13         30.    Title III of the ADA prohibits discrimination against any person on the
 14
      basis of disability in the full and equal enjoyment of the goods, services, facilities,
 15
 16   privileges, advantages, or accommodations of any place of public accommodation
 17   by any person who owns, leases, or operates a place of public accommodation.
 18
      U.S.C. § 12182(a).
 19
 20         31.    Defendants discriminated against Plaintiff by denying “full and equal
 21
      enjoyment” and use of the goods, services, facilities, privileges, or accommodations
 22
      of Defendant’s facility during each visit and each incident of deterred visit.
 23
 24         32.    The acts and omissions of Defendants herein were/are in violation of
 25
      Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
 26
            33.     Pursuant to the ADA, discrimination is a “failure to make reasonable
 27
 28   modifications in policies, practices or procedures, when such modifications are
                                           16
                                        COMPLAINT
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  1   necessary to afford goods, services, facilities, privileges, advantages or
  2
      accommodations to individuals with disabilities, unless the entity can demonstrate
  3
  4   that making such modifications would fundamentally alter the nature of such goods,

  5   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  6
      12182(b)(2)(A)(ii).
  7
  8         34.    The ADA requires removal of architectural barriers in existing
  9   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
 10
      (“discrimination includes … a failure to remove architectural barriers, and
 11
 12   communication barriers that are structural in nature, in existing facilities, … where
 13   such removal is readily achievable”). The term “readily achievable” is defined as
 14
      “easily accomplishable and able to be carried out without much difficulty or
 15
 16   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
 17   Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
 18
      the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
 19
 20   36, Appendix A.
 21
            35.    If removal of any barrier is not readily achievable, a failure to make
 22
      goods, services, facilities, or accommodations available through alternative
 23
 24   methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
 25
      12182(b)(2)(A)(v).
 26
            36.    Plaintiff alleges that Defendants can easily remove the architectural
 27
 28   barriers at their facility without much difficulty or expense, and that Defendants
                                           17
                                        COMPLAINT
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  1   violated the ADA by failing to remove those barriers because removal was readily
  2
      achievable. There are companies in the area which can repaint parking areas for as
  3
  4   little as $350. Defendants can afford such costs, which are a fraction of what

  5   Defendants receive in rental profits for such a large and expensive property.
  6
            37.     Alternatively, if it was not “readily achievable” for Defendants to
  7
  8   remove barriers at their facilities, Defendants violated the ADA by failing to make
  9   the required services available through alternative methods, which are readily
 10
      achievable.
 11
 12         38.     On information and belief, the facility was modified after January 26,
 13   1992, mandating compliance access requirements under the ADA.
 14
            39.     The ADA requires that facilities altered in a manner that affects or
 15
 16   could affect their usability must be made readily accessible to individuals with
 17   disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
 18
            40.     Plaintiff alleges that Defendants altered the facilities at the Property in
 19
 20   a manner that violated the ADA, and/or failed to make the Property readily
 21
      accessible to physically disabled persons, including Plaintiff, to the maximum
 22
      extent feasible.
 23
 24         41.     The ADA also requires reasonable modifications in policies, practices,
 25
      or procedures, when such modifications are necessary to afford goods, services,
 26
      facilities, privileges, advantages, or accommodations to individuals with
 27
 28   disabilities, unless the entity can demonstrate that making such modifications
                                            18
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  1   would fundamentally alter the nature of such goods, services, facilities, privileges,
  2
      advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
  3
  4         42.    Plaintiff alleges that Defendants violated the ADA by failing to make

  5   reasonable modifications in policies, practices, or procedures at the Property when
  6
      these modifications were necessary to afford (and would not fundamentally alter the
  7
  8   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
  9         43.    Plaintiff seeks a finding from this Court that Defendants violated the
 10
      ADA, so that Plaintiff may pursue damages under California’s Unruh Civil Rights
 11
 12   Act for Disable Persons Act.
 13         44.    Here Defendants’ failure to make sure that accessible facilities were
 14
      available and ready to be used by the Plaintiff was/is a violation of law.
 15
 16         45.    Plaintiff would like to continue to frequent Defendants’ property
 17   because it is close to his home. However, Plaintiff is deterred from doing so
 18
      because Plaintiff has been discriminated against and is aware of accessibility
 19
 20   barriers at the Property.
 21
            46.    Among the remedies sought, Plaintiff seeks an injunction order
 22
      requiring compliance with state and federal access laws, and remediation of all the
 23
 24   existing access violations at the Property.
 25
         V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
 26
                                     (Cal. Civ. Code § 51-53.)
 27
 28
                                           19
                                        COMPLAINT
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  1                                      (Against All Defendants)
  2
               47.   Plaintiff repleads and incorporates by reference, as though fully set
  3
  4   forth herein, the allegations contained in all prior paragraphs of this complaint.

  5            48.   California Civil Code § 51 states, in part: “All persons within the
  6
      jurisdictions of this state are entitled to the full and equal accommodations,
  7
  8   advantages, facilities, privileges, or services in all business establishments of every
  9   kind whatsoever.”
 10
               49.   California Civil Code § 51 also states, in part: “No business
 11
 12   establishment of any kind whatsoever shall discriminate against any person in this
 13   state because of the disability of the person.”
 14
               50.   California Civil Code § 51(f) specifically incorporates, by reference,
 15
 16   an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
 17   Act”).
 18
               51.   The Unruh Act also provides that a violation of the ADA, or California
 19
 20   state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
 21
      51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
 22
      Cal. 1994).
 23
 24            52.   Defendants’ above-mentioned acts and omissions have violated the
 25
      Unruh Act by denying Plaintiff his rights to full and equal use of the
 26
      accommodations, advantages, facilities, privileges, and services they offer, on the
 27
 28   basis of Plaintiff’s disability.
                                               20
                                            COMPLAINT
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  1         53.    Defendants’ above-mentioned acts and omissions have also violated
  2
      the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
  3
  4   and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).

  5         54.    Because violation of the Unruh Act resulted in difficulty, discomfort,
  6
      and/or embarrassment for Plaintiff, the Defendants are each also responsible for
  7
  8   statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
  9         55.    Plaintiff was actually damaged.
 10
      //
 11
 12   //
 13   //
 14
      //
 15
 16   //
 17   //
 18
      //
 19
 20   //
 21
      //
 22
      //
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 24   //
 25
      //
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      //
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 28   //
                                          21
                                       COMPLAINT
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  1         56.      Plaintiff was damaged by Defendants’ wrongful conduct, and seeks
  2
      statutory minimum damages of four thousand dollars ($4,000) for each offense.
  3
  4                                  PRAYER FOR RELIEF

  5                  WHEREFORE, Plaintiff prays for judgment against Defendants, as
  6
      follows:
  7
  8         1. For injunctive relief, compelling Defendants to comply with the
  9               Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 10
                  Plaintiff is not invoking section 55 of the California Civil Code and is not
 11
 12               seeking injunctive relief under the Disabled Person Acts.
 13         2. Damages under the Unruh Civil Rights Act, which provides for actual
 14
                  damages and a statutory minimum of $4,000 per each offense.
 15
 16         3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
 17               42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 18
 19
 20                                      JURY DEMAND
 21   Plaintiffs demand a trial by jury on all issues so triable.
 22
 23
 24   DATED: December 11, 2020           THE LAW OFFICE OF HAKIMI & SHAHRIARI
 25
 26                                      By:   /s/ Peter Shahriari, Esq.____________
 27                                            PETER SHAHRIARI, ESQ.
                                               Attorney for Plaintiff, Phillip Walker
 28
                                            22
                                         COMPLAINT
